 

Case 1:22-cv-00339-SPB Document 48 Filed 11/08/22 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PENNYSLVANIA STATE CONFERENCE
OF THE NAACP, et al,

Plaintiffs, Civil Action No. 1:22-CV-339
Vv.

LEIGH CHAPMAN,
Acting Secretary of the Commonwealth, et al,
Defendants.

Newer” Neem Neem” Nee eee” eee” eae? eee eee”

KKK RRR RRR RRR KIRK RK RRR ERK KR KARRAARRAA KR ARK KAKA A KA AKKAAAKE AKA ARAKK

BETTY EAKIN, et al,
Plaintiffs,

Civil Action No. 1:22-CV-340
Vv.

ADAMS COUNTY BOARD OF
ELECTIONS, et al,
Defendants.

Nee Nee Sewer? ewer roe” nee See” See” nee”

ORDER

AND NOW, this day of November 2022;

IT IS HEREBY ORDERED that, in the interest of judicial economy, a joint telephonic
conference will be held in the two above-captioned cases on Wednesday, November 9, 2022 at
9:30 a.m. The parties are directed to contact the Court at (888)363-4749 and use access code
7686665. The proposed Intervenors in 1:22-cv-339 will be permitted to join the conference.

IT IS FURTHER ORDERED that counsel for Plaintiffs in each case shall notify every

 
 

Case 1:22-cv-00339-SPB Document 48 Filed 11/08/22 Page 2 of 2

party whose appearance is not yet recorded on the docket of this Order.

 

i. f/ Z
ee HE Aegean FAA A Le Mote, SoA L—-

SUSAN PARADISE BAXTER
United States District Judge

 
